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 CONSENT TO BECOME PARTY PLAINTIFF
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 PJ1' fl'b. 11=1J ,tiJ, t=?




        By my signature below, I hereby authorize the filing and prosecution of claims in my name
 and on mybehalfto contest the failure ofDEFENDANT(S), EMPLOYER

                              ~T~§*, ft~~#§~~ft~~~ft*ft$~W~~-~~~
                                                     MayFlower
 to pay me overtime wages and/or minimum wages as required under state and/or federal law
 including the Fair Labor Standards Act and also authorize the filing of this consent in the action(s)
 challenging such conduct.

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  Liu.Amanda
  PARTY PLAINTIFF




  Date
   BM




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